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Certificate Number: 0172`1 -OKW-CC-032409994

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721~OKW-CC~032409994

CERTIFICATE OF CoUNSELlNG

I CERTIFY that on March 7, 2019, at 10219 o‘clock PM EST, Mae H Burge
received from Advantage Credit Counseling Service, Inc., an agency approved
pursuant to 11 U.S.C. § 11 1 to provide credit counseling in the Western District
of Oklahoma, an individual [or group] briefing that complied with the provisions
of 11 U.S.C. §§ 109(h) and lll.

 

A debt repayment plan Was not prepared lt a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate

This counseling session was conducted by internet.

Date: March 8, 2019 By: /s/Robin Vasseio

 

Name: Robin Vasselo

Title: Counselor

* lndividuals who wish to file a bankruptcy case under title ll of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See l 1 U.S.C. §§ 109(h) and 521(b).

 

